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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

DANIEL CLEON BURROUGHS                                                                PLAINTIFF

v.                                Case No. 4:19-cv-00680-KGB


LUCAS EMBERTON, RANDY CHURCHES, and ETHAN WARD                                     DEFENDANTS

                                             ORDER

       Before the Court is the status of this case. By Order entered January 19, 2021, this Court

granted plaintiff Daniel Cleon Burroughs’s motion for leave to proceed in forma pauperis and

directed Mr. Burroughs to file an amended complaint within 30 days from the entry of that Order

to cure the deficiencies outlined by the Court (Dkt. No. 3). The Court’s January 19, 2021, Order

was returned as undeliverable to Mr. Burroughs (Dkt. No. 4).

       Pursuant to Local Rule 5.5(c)(2) of the Local Rules of the United States District Court for

the Eastern and Western Districts of Arkansas, any party appearing pro se and not represented by

counsel must promptly notify the Clerk and the other parties to the proceedings of any change in

his or her address, must monitor the progress of the case, and must prosecute or defend the action

diligently, and, if any communication from the Court to a pro se plaintiff is not responded to within

30 days, the case may be dismissed without prejudice.

       Because Mr. Burroughs failed to notify the Clerk of any change in his address, to monitor

the progress of the case, and to prosecute the case diligently and because Mr. Burroughs failed to

respond to the Court’s January 19, 2021, Order within 30 days, the Court dismisses without

prejudice this action.
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It is so ordered this 9th day of December, 2022.


                                             _________________________________
                                             Kristine G. Baker
                                             United States District Judge




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